Case 5:18-cv-07182-EJD Document 183-18 Filed 04/20/23 Page 1 of 6




                    EXHIBIT 17
              Case 5:18-cv-07182-EJD Document 183-18 Filed 04/20/23 Page 2 of 6
From:             John Mark Suhy Omsuhy@purethink.com)
To:               David Mohr david .mohr@neotechnology.com
CC:
BCC:
Subject:          Re : Questions based on this morning's conversation
Sent:             08/25/2016 12:01 :07 PM -0700 (PST)
Attachments:      aia-neo4j-gsa-schedule.pdf; aia-neo4j-gsa-schedule.pdf;

Hi Dave - here are some answers to the questions below: I tried to outline the answers in blue text.

Also I reference Neo4j Enterprise Government a few times, below is a quick explanation of that that is:

Neo4j Enterprise Government is a Neo Technology product (Not Pure Think) which extends Neo4j Enterprise (and
all of it's offerings) to address FISMA and Sole Source procurements . It adds a framework called the FISMA
framework to Neo4j Enterprise which adds all sorts of security controls, auditing, etc which is important for any
government agency getting an Authority to Operate (ATO) for a system Neo4j will be part of.

It costs exactly the same as Neo4j Enterprise so Neo4j Enterprise quotes are valid for Neo4j Enterprise
Government Edition.
   It can be sole sourced because Neo Technology has given Pure Think exclusivity to this specific edition
specifically just to support sole source . This means fast procurements . Even GSA has it's limits for higher priced
purchases - which is why every US Federal agency so far has used sole source as the procurement vehicle .

1. Client references in Federal / public sector that are currently using neo4j in production or technology labs

  IH is using Neo4j Communi -- - ~ - - - - - - - - - - ~ - ~
IRS will be using Neo4j Enterprise / Government Edition starling in Octobe
                                                                            ~------------~
US Census is ex irementin with Neo4· and it has assed their review P-rocess to be able to be used in their lat>
  nvironmen
            ~--------------------------------~
FBI is using Neo4j - but project is TS and ou won't be able to et a reference etc. Kee FBI info intema
  elween Neo Technology and PureThink)
                      ~------------------~
  andia National Labratories is usin Neo4· Ente rise/ Government Edition for R&D, anal sis, etc


2. Benchmark studies against RDBMS or No-SQL Databases
IYou can get some benchmarks from your team - but it may be important to focus on benchmarks s ecific to use
  ases where Neo4 · excells - as some use-cases are ·ust not cut out for Neo4 ·


3. Largest size of data that Neo4j has supported in Production environment
I would ask Phili or Neo Team about this.

4 . Horizontal scaling topology and architecture
                             -=-=-=-==-=--r:----=---=---=--:-,,--~r:--=---:c:---:---=---------
 orizontal scaling is what Neo4j Enterprise excels at But be careful when discussing because not everyone
 eeds the horizontal scaling and in a lot of cases - when they don't - they find Neo4j Community Edition does
 verything they need except for addressing FISMA which is what keeps a lot of agencies inline for a subscription
  1th that said - I will to ut to ether some slides around Neo4"'s Horizontal Scalin Architecture and To olo

5. Cloud support
    a. Can neo4j run on AWS/ MS Azure? How does licensing work on cloud ?
                                                               --~---o----=-=-_,,--=-------,,
       Yes for both. You want to reach out to Benjamin Nussbaum from Atom Rain (ben@atomrain.com)
       They are focusing on on-demand Neo4j and are already setup for GovCloud. Furthermore - they ca
 asily launch Neo4· Entemrise Government Edition instead of the commercial Neo4· Entemrise Edition if FISMA is
mP-ortant

   b. Do you have a Saas model ? Is it FEDRamp or FISMA certified ?
                                                                     ---c-:-::-:---= =-=-==-=-=--:-=---=-=-,,_
 es regarding Saas model - See 5a above regarding Saas. There is no such thing as "FISMA Certified" - the
FISMA Framework however addresses the NIST 800-53 security controls that need to be supported for an ATO.
 s for FEDRamp that is related to cloud which Ben can answer. But I believe it is the wren uestion to ask ·us
ike askin if somethin is FISMA certified

6. Details on Enterprise licensing - charge per user/ CPU/ Data I API etc. etc.


                                                                                                       PT00001226.001
               Case 5:18-cv-07182-EJD Document 183-18 Filed 04/20/23 Page 3 of 6
  a . Do you have a GSA Schedule?
~e do but we do not list Neo4j on it as our partner IAI has Neo4j Enterprise on their GSA schedule
 e did not add it to our Schedule 70 since we work closel with IAI on all Neo4· stuff

Be aware that their schedule pricing for Neo4j is based on the old pricing model that is heavily discounted so be




!
 areful mentioning it if you plan on using the new pricing until we get it fixed. We are working with IAI to update
  eir schedule listing to reflect new pricing and the FISMA Framework. Note that even though they only have
Neo4j Enterprise Edition listed - we give them the FISMA Framework which is the big differentiator betwee
  ovemment and commercial edition.          On another note - depending on the procurement size - if it is over a
 pecific threshold - then sole source may be better option. Every US Federal Government subscription of Neo4 ·
 as been sole sourced through us and upheld leveraging Government Edition. So you may want to mention the
ract that there is also a Sole Source OP-tion if their rocurement size oes over a SP-ecific threshold

I attached IAl's GSA Schedule to this email for your review. You can reach out to Richa
Rodri                  infoa .com M: 571-262-9153 a                      uestions and ca n
                                                                                         '"-•t_re_a_c_h_m
                                                                                                        _e...,

7 . Professional services pricing .

Neo Technology has their own professional services pricing which I believe is too high for Government Also
 sually professional services needs to be competed out meaning a long procurement cycle - so always good to
 eparate them out or bundle them into a acka e. If and when it comes down to that- ·ust let me know and I'll
 el   ou structure that

  s for professional services price list- if they go through GSA then professional services can also be done
lhrough GSA. Otherwise for an other vehicle I attached our GSA rice list for rofessional services to use as a
  ference.



John Mark Suhy
Pure Think
jmsuhy@purethink.com
703-862- 7780
http ://purethink.com

On Thu, Aug 25, 2016 at 12:53 PM, David Mohr <david .mohr@neotechnoloqy .com > wrote :


  David Mohr
  Neo Technology
  +1 (339) 236-3553

  Please join me at GraphConnect San Francisco on October 13th. Discount Code: DM20


      GRAPH
      CONNECT



  -- - ---- - -- Forwarded message ----------
  From : Sumant Kapoor <sumant@radiantt.com>
  Date : Wed , Aug 24 , 2016 at 9 :37 AM
  Subject: Questions based on this morning's conversation
  To : David Mohr <david .mohr@neotechnology.com >
  Cc : Sumant Kapoor <sumant@radiantt.com >


  Dave,



                                                                                                         PT00001226.002
                      Case 5:18-cv-07182-EJD Document 183-18 Filed 04/20/23 Page 4 of 6
Appreciate your call this morning . As discussed, please provide us with some more information related to the
following:

1. Client references in Federal/ public sector that are currently using neo4j in production or technology labs
2. Benchmark studies against RDBMS or No-SQL Databases
3. Largest size of data that Neo4j has supported in Production environment
4. Horizontal scaling topology and architecture
5. Cloud support
    a . Can neo4j run on AWS/ MS Azure? How does licensing work on cloud?
    b. Do you have a Saas model ? Is it FED Ramp or FISMA certified ?
6. Details on Enterprise licensing - charge per user/ CPU/ Data / API etc. etc.
    a . Do you have a GSA Schedule?
7. Professional services pricing .

Thank You.

Sincerely,

Sumant Kapoor
President
Radiant Infotech
5520 Research Park Drive, Suite 100, Baltimore, MD, 21228
Phone : (443) 846-2525 I Email: sumant@radiantt.com I Fax: (443) 203-2000
Web: www.radiantt.com




C"   E   ll   T   I    r   I
                                     CMMI D,EV / 3

         On Aug 23, 2016, at 7 :29 AM, David Mohr <david .mohr@neotechnoloqy .com > wrote :

         Hi Sumant - i can do it at 9 a.m. ET tomorrow. We can do it as a direct dial call. My phone
         number is 339-236- 3553 .

          Regards,
          David


          David Mohr
          Neo Technology
          + 1 (339) 236-3553
         Please join me at GraphConnect San Francisco on October 13th. Discount Code: DM20


                  GRAPH
                  CONNECT



         On Mon, Aug 22, 2016 at 8:16 PM, Sumant Kapoor <sumant@radiantt.com > wrote:
          Hi David ,

              Yes . Wednesday morning before noon works fine. Please advise on a time and I will send out
              the invite .

              Sincerely,



                                                                                                   PT00001226.003
   Case 5:18-cv-07182-EJD Document 183-18 Filed 04/20/23 Page 5 of 6
Sumant Kapoor
President
Radiant Infotech
5520 Research Park Drive, Suite 100, Baltimore, MD, 21228
Phone : {443) 846-2525 I Email: sumant@radiantt.com I Fax: {443) 203-2000
Web : www.radiantt.com

<PastedGraphic-6 .png><PastedGraphic-14.png>


       On Aug 22, 2016, at 7:55 PM, David Mohr <david .mohr@neotechnoloqy .com>
       wrote :


       Hi sumant
       I am on a client site all say tomorrow. Can you talk on Wednesday morning
       eastern time?


       On Aug 22, 2016 5:57 PM, "Sumant Kapoor'' <sumant@radiantt.com > wrote :
        I am available to talk now or before 9:30a EST tomorrow.

         Sincerely,

         Sumant Kapoor
         President
         Radiant Infotech
         5520 Research Park Drive, Suite 100, Baltimore, MD, 21228
         Phone: {443) 846-2525 I Email: sumant@radiantt.com I Fax: {443) 203-2000
         Web: www.radiantt.com

         <PastedGraphic-6 .png><PastedGraphic-14.png>


                 On Aug 22, 2016, at 5:55 PM, Alexandria Riggs
                 <alexandria .riggs@neotechnology .com > wrote :

                 Hi Sumant,

                 Jacob forwarded me your email. I would be happy to put you in
                 touch with my colleague Dave (cc'd). He can help answer any of
                 your questions . What is your availability for a quick phone call?

                 Best,
                 Lexi

                 On Mon, Aug 22, 2016 at 12:10 PM, Sumant Kapoor
                 <sumant@radiantt.com> wrote :
                   Hi Jacob,

                      We are evaluating neo4j at enterprise level for a federal client in
                      Washington DC. Could you please connect me to your rep who
                      handles US Federal or public sector clients.

                      We are also interested in any Benchmark studies that you have
                      undertaken comparing neo4J with other graph databases or
                      rdbms. I will appreciate your response.


                      Sincerely,

                      Sumant Kapoor
                      Radiant lnfotech LLC


                                                                                            PT00001226.004
Case 5:18-cv-07182-EJD Document 183-18 Filed 04/20/23 Page 6 of 6
          5520 Research Park Dr, St. 100
          Baltimore, MD 21228
          Phone: 443-846-2525 I Email: sumant@radiantt.com I Fax: 443-
          203-2000
          Web: www .rad iantt.com


          On Fri, Aug 19, 2016 at 3:53 PM, Jacob Barlow
          <jacob .barlow@neotechnoloqy.com> wrote :

            Hi Sumant,

           Thanks for your interest in Neo4j. I'm interested to hear what
           your working on and see if I can help out in any way.

            Do you have any questions so far?


           Jacob Barlow I Neo Technology
           jacob .barlow@neotechnology .com

            neo4j.com II update subscriptions




                                                                            PT00001226.005
